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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                           CASE NO.:

       JEFFERSON L. DURHAM and
       DANIELLE R. DURHAM,

                   Plaintiffs,
          Vs.

       ROYAL CARIBBEAN CRUISES, LTD.,
       DR. J. ZAMBRANO, DR. J. WOLFE,
       SEACARE CO-OPERATIVE, LTD, and
       ROYAL JUBILEE HOSPITAL,

                Defendants.
                                                                     /

                   COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                COMES NOW the Plaintiffs, JEFFERSON L. DURHAM and his wife

       DANIELLE R. DURHAM, by and through their undersigned counsel, file this

       Complaint against the Defendants, ROYAL CARIBBEAN CRUISES, LTD.,

       hereinafter "RCCL", DR. J. ZAMBRANO, DR. J. WOLFE, SEACARE CO-

       OPERATIVE, LTD, hereinafter "SEACARE”, and ROYAL JUBILEE HOSPITAL

       and allege as follows:

        1.         All conditions precedent to filing suit have occurred or have been

        waived by the Defendants.

                                                       I. PARTIES

        2.         JEFFERSON L. DURHAM and DANIELLE R. DURHAM are individuals,

        who ar e c i t i z e n s o f t h e U n i t e d S t a t e s a n d residents of the State of Florida

        and are therefore domiciled in the State of Florida.




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        3.     RCCL is a foreign corporation. RCCL has at all times material hereto, its

       principal place of business in Miami-Dade County, Florida, located at 1050

       Caribbean Way, Miami, FL 33132.

       4.     DR. J. ZAMBRANO is an individual, who is believed to be a resident of a

       foreign country or state other than Florida.

       5.     DR. J. WOLFE is an individual, who is believed to be a resident of a foreign

       country or state other than Florida.

       6.     SEACARE is a foreign corporation.

       7.      ROYAL JUBILEE HOSPITAL is a foreign corporation.

       8.     Plaintiffs are of the opinion and belief that the treating medical staff are

       residents of a foreign country or state other than Florida.

       9.      Plaintiffs are of the opinion and belief that the treating medical staff

       assistants are residents of a foreign country or a state other than Florida.

       10.       DR. DOE and NURSE DOE are fictitious names of medical personnel

       aboard the “Explorer of the Seas”, included in an abundance of caution in the event

       that discovery reveals that other persons, whose names are not yet known to

       Plaintiffs, provided medical care to Plaintiff JEFFERSON L. DURHAM that is

       alleged to be negligent while aboard the “Explorer of the Seas” ship.

                               II.
       STATEMENT OF JURISDICTION, VENUE & FORUM SELECTION

       11.       Venue is proper in this District Court because RCCL has chosen this

       district by means of a forum selection clause contained in the passenger ticket

       contract provided by RCCL to JEFFREY DURHAM and DANIELLE R. DURHAM.

       Venue is also appropriate in this district because RCCL is considered established here.



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       Attached hereto is a true and accurate copy of Plaintiffs’ cruising ticket and contract

       with RCCL as Exhibit “A”.

       12.         This Court has subject matter jurisdiction based on Diversity of

       Citizenship as provided by Title 28 U.S.C. §1332. This Court also has subject

       matter jurisdiction under Title 28 U.S.C. §1333 and the amount in controversy

       exceeds $75,000, exclusive of interest and costs.

       13.         To the extent this Court interprets or determines that any part of the

       claim or claims asserted herein by Plaintiff arises under the law of any state, this

       Court has supplemental jurisdiction because all the claims asserted herein are part

       of the same case or controversy under Article III of the United States Constitution.

       14.         RCCL and the Medical Defendants at all times material hereto, personally

       or through an agent:

             a. Operated, conducted, engaged in or carried on a business venture in this

                state of country or had an office or agency in this state and/or country.

             b. Were engaged in substantial activity within this state;

             c. Operated vessels in the waters of this state.

             d. Committed one or more of the acts stated in Florida Statutes, Sections

                48.081, 48.181 or 48.193.

        15.        Defendant, RCCL, was engaged in the business or providing to the

        public and to the Plaintiff in particular, for compensation, vacation cruises aboard

        the vessel RCCL EXPLORER OF THE SEAS.

        16.        That all Medical Defendants that interacted with Plaintiffs were engaged

        in the business of providing to the public guests and to the Plaintiff in particular,

        for compensation, medical care aboard the vessel RCCL EXPLORER OF THE

        SEAS.
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       17.        All of the Defendants are subject to the jurisdiction of the Courts of this state.

       18.        With regard to the Medical Defendants, exercising jurisdiction over the

       Medical Defendants is consistent with the United States Constitution and Laws due to

       the Medical Defendants' national contacts with the United States.

                        III. FACTS COMMON TO ALL COUNTS

        19.       At all times material hereto, Defendant, RCCL, owned, operated,

        managed, maintained and/or controlled the vessel, RCCL EXPLORER OF THE

        SEAS.

        20.   At all times material hereto, Defendant, RCCL, Owned, operated, managed,

        maintained and/or controlled the medical equipment in the ship’s medical facility

        aboard the vessel RCCL EXPLORER OF THE SEAS which the Medical

        Defendants attempted to use to diagnose the Plaintiff’s medical condition.

       21.    At all times material hereto, Defendants, and DR. J. ZAMBRANO was the

       ship's doctor working in the vessel's medical facility, with the intent and

       responsibility of providing medical care to passengers, including Plaintiff.

       22.      At all times material hereto, Defendants, and DR. J. ZAMBRANO were

       apparent agents and/or joint ventures and/or partners of RCCL, and at all times

       material hereto acted within the course and scope of their apparent agency and/or joint

       venture and/or partnership.

       23.    At all times material hereto, Defendant, DR. J. WOLFE was the ship's doctor

       working in the vessel's medical facility, with the intent and responsibility of

       providing medical care to passengers, including Plaintiff.

       24.    At all times material hereto, Defendant, DR. J. WOLFE was an apparent agent

       and/or joint venture and/or partner of RCCL, and at all times material hereto acted


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       within the course and scope of his apparent agency and/or joint venture and/or

       partnership.

       25.        At all times material hereto RCCL agreed to provide indemnity insurance

       coverage for the Medical Defendants, regarding claims asserted in this action.

       Plaintiff continues to be a third party beneficiary to said indemnification agreement.

       Further, upon information and belief, the Plaintiff and/or treatment of the Plaintiff is

       contemplated in this agreement, which also subjects the Medical Defendants to the

       jurisdiction of this Court.

       26.         On or about August 4, 2018, Plaintiff, JEFFERSON L. DURHAM was

       paying passenger on board that RCCL, owner, operated and maintained passenger

       cruise ship, RCCL EXPLORER OF THE SEAS.

       27.         That upon boarding the subject vessel JEFFERSON L. DURHAM was

       in good health and did not have medical problems or problems ambulating.

       28.         At all times material hereto, RCCL, allowed a hazardous conditions to

       exist aboard its vessel by way of having a medical facility staffed by

       physicians/nurses lacking the r e a s o n a b l e s k i l l s , q u a l i f i c a t i o n s a n d /or

       competencies t o adequately diagnose and treat emergency medical situations like

       Plaintiff’s.

       29.         That within the first days of the voyage Mr. Durham developed a blister

       on his foot which progressively worsened into an infection and continued to

       worsen. The infection, bacteria or virus spread throughout his body and by the last

       day of the voyage, before he was rushed off the ship, JEFFERSON DURHAM’S

       infection had become septic.

       30.         That JEFFERSON DURHAM developed fevers and organ malfunction

       and was in pain that had emanated from his foot and throughout his body and went
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       to the infirmary where the ship medical team merely examined him quickly and

       dispensed anti-biotics. He was not properly examined nor diagnosed, and his

       conditions were allowed to worsen.

       31.         RCCL advertised its medical center or medical staff to passengers.

       32.         RCCL retained the right to hire and fire medical staff.

       33.         The medical staff is required to wear the ship’s uniform and sail under

       the ship’s officers.

       34.         The doctors, nurses or other staff are paid by RCCL directly.

       35.         RCCL stocks the hospital or medical center with all supplies, equipment,

       and medicine.

       36.         RCCL directly bills the passengers’ shipboard charge card for any

        medical services provided.

             COUNT IV – NEGLIGENCE CLAIM AGAINST ROYAL CARRIBBEAN

             Plaintiff reaffirms and realleges each and every allegation set forth in

       Paragraphs 1, 2, 3, 4, 5 and 8 through 36 and further alleges as follows:

       37.         RCCL negligently hired the subject physicians and/or nurses and same

       is a direct and proximate cause of MR. JEFFERSON L. DURHAM’S injuries, as

       the physicians and/or nurses did not have the proper licensure and/or training to

       diagnose MR. JEFFERSON L. DURHAM condition.

       38.         That RCCL: (1) had actual notice of JEFFERSON L. DURHAM’S

       Condition aboard the vessel and failed and refused to take proper action; and/or

       (2) RCCL should have known about JEFFERSON L. DURHAM’S condition and

       failed and refused to take proper action to avoid JEFFERSON L. DURHAM from

       sustaining more severe and life threatening injuries.


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       39.          That RCCL’s hiring and retention of its medical personnel was negligent and

       was a direct and proximate cause of JEFFERSON L. DURHAM’S injuries and

       damages.

       40.          That the failures and/or acts and/or omissions by RCCL in its failure to

       provide JEFFERSON L. DURHAM with reasonable means to seek the proper

       emergency medical care and/or be removed from the subject vessel, proximately and

       directly caused Plaintiffs injuries and damages.

       41.          That as a direct and proximate result of RCCL’S actions and/or omissions in

       this matter, Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs

       injuries were directly caused by RCCL’S active and/or passive acts of negligence as set

       forth above and as a result, Plaintiff, JEFFERSON L. DURHAM, seeks to recover all

       elements of his damages as authorized by laws for his injuries, included but not limited

       to:

             a. Past and future pain and suffering,

             b. Past and future mental anguish,

             c. Past and future loss of the capacity for the enjoyment of life,

             d. Past and future inconvenience,

             e. Past and future economic damages, including lost wages, lost future wage

                earning capacity.

             f. Past and future medical expenses and attendant care.

       42.          The medical staff in this case, including Defendants, DR. J.

       ZAMBRANO and DR. J. WOLFE., were required by RCCL to wear RCCL

       uniforms which include name tags, and which display the RCCL name and

       logo.


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       43.           Further, RCCL holds out the ship’s physicians and medical staff as the

        apparent agents of the cruise line. The Defendant, RCCL through its actions and

        conduct represents to its cruise passengers including, but not limited to the

        Plaintiff herein and his family, that the shipboard physicians and medical

        staff work for the benefit of the Defendant. These actions and conduct of the

        cruise line include but are not limited to the following:

             a. The Defendant controls cruise line physicians attire, which includes, at

                  times, a   uniform with epaulettes and stripes similar to other

                  crewmembers;

             b. The Defendant cruise line offers physicians benefits including senior

                  officer status, round-trip transportation from residence to the ship,

                  uniforms, meals,   private     furnished   cabins    with   refrigerators,

                  telephones, computers   with    internet   access,   daily housekeeping

                  services, and indemnification and health care;

             c. The Defendant cruise line requires that the ship's physicians sail with the

                  ship;

             d.   The Defendant cruise line provides the onboard Medical Center;

             e. The Defendant cruise line allows and requires the ship's physicians to

                  operate and provide services out of the ship's Medical Center which is

                  provided by the cruise line and which is equipped by the cruise line;

             f. The Defendant cruise line charges the services of the medical center,

                  which includes services of the ship's doctors and other medical staff and

                  charges for the medical equipment and goods provided by the cruise

                  line, to the passenger's onboard Sail and Sign Account;


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             g. The ship's physicians represented themselves to passengers that they are

                  employees of Defendant, RCCL;

             h. The Defendant cruise line limits the hours and area of the ship where

                  passengers can receive medical services to the ship's Medical Center,

                  which is staffed exclusively by shipboard medical personnel;

             i.   The Defendant publishes the Medical Center's daily office hours in its

                  flyer distributed to all passengers aboard its ships; and

             j.   The Defendant cruise line requires the shipboard physicians and medical

                  staff to be on call 24 hours to attend to passenger medical emergencies.

       44.         The ship’s physician is considered to be an Officer on board the vessel

       and a member of the crew, and was introduced to the passengers as one of the

       ship's Officers.

       45.         Both the ship's doctor and the nurses were held out to the passengers by

       RCCL as members of the ship's crew.

       46.         The Defendant put the ship's physician and nurse under the command of

       the ship's superior officers, including the Master of the ship.

       47.        The cruise line represents to immigration authorities that the physician and

       nurse are members of the ship's crew.

       48.        Both the ship's doctor and nurses are permitted to eat with the ship's crew.

       49.        The ship's physician and nurse provide services in the ship's "medical

       centers" and the Plaintiff had no alternative to going to the ship's medical

       center to be seen for his symptoms. At the time of Plaintiff‘s illness, the Plaintiff

       was seen, examined and treated by the ship's nurse and/or physician.




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             V. NEGLIGENCE CLAIM AGAINST RCCL– FAILURE TO TIMELY
                         EVACUATE THE PLAINTIFF

          Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by reference, and

       adopts paragraphs 1 through 5 and 8 through 49 as though they were originally

       alleged herein.

       50.        That RCCL has a duty to provide reasonable care to all passengers

       aboard the vessel.

       51.        This includes a duty to furnish such aid and assistance as ordinarily

       prudent persons would render under the circumstances. See Rinker v. Carnival

       Corp., 836 F. Supp.2d 1309, 1316 (S.D. Fla. 2011) quoting Barbetta v. SIS

       Bermuda Star, 848 F.2d 1364, 1371 (5 1 Cir. 1998).

       52.        That RCCL breached its duty of reasonable care as ordinarily prudent

       persons would render under the circumstances.

       53.        That Plaintiff, JEFFERSON L. DURHAM, was severely damaged and

       injured due to the failure of RCCL and/or its agents, servants and/or employees to

       furnish such aid and assistance as ordinarily prudent persons would render under

       the circumstances as follows:

          a.   Failing to medically evacuate the Plaintiff to a shore-side medical facility

               despite being reasonable close to proximity to same; and/or

          b.   Failing to request the assistance of the U.S. Coast Guard and/or private air

               ambulance to airlift a passenger in a life-threatening condition, despite

               reasonable availability of such aid; and/or

          c.   Failing to arrange for the immediate medical evacuation of the Plaintiff

               based on the severity of his injuries and the septic state of his infection.



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         d.   Failing to arrange for the immediate medical evacuation of the Plaintiff

              despite there being a helipad on the RCCL EXPLORER OF THE SEAS

              designed and/or suitable for such medical evacuation; and/or

         e.   Failing to promulgate and/or enforce adequate policies and/or procedures

              aimed at determining the viability of an emergency medical evacuation.

       54.        All of the above caused the Plaintiff to be injured and/or caused the

       Plaintiffs injuries to be aggravated and made worse.

       55.        That as a result of RCCL’S failure to properly treat JEFFERSON L.

       DURHAM and/or provide means for JEFFERSON L. DURHAM to be

       removed/airlifted from the vessel and airlifted to a proper medical facility,

       JEFFERSON L. DURHAM is now permanently handicapped and scarred.

       56.       That RCCL: (1) had actual notice of JEFFERSON L. DURHAM’S

       condition aboard the vessel and failed and refused to take proper action; and/or (2)

       RCCL should have known about JEFFERSON L. DURHAM’S condition and

       failed to take proper action to avoid JEFFERSON L. DURHAM from being

       permanently handicapped and scarred.

       57.       That the failures, and/or acts and/or omissions by RCCL in its failure to

       provide JEFFERSON L. DURHAM with reasonable means to seek the proper

       emergency medical care and/or be removed from the subject vessel, proximately

       and directly caused Plaintiff injuries and damages.

       58.       That all of the herein alleged was a breach of the duty or duties that

       RCCL owed to the Plaintiff.

       59.       That as a direct and proximate result of RCCL’S actions and/or

       omissions in this matter, Plaintiff suffered injury to his internal organs as well as

       his left foot and left leg which are now permanently scarred. The Plaintiff’s injuries
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       and damages were directly caused by RCCL’S active and/or passive acts of

       negligence as set forth above and as a result, Plaintiff, JEFFERSON L. DURHAM,

       seeks to recover all elements of his damages as authorized by law for his injuries,

       including, but not limited to:

               a. Past and future pain and suffering,

               b. Past and future mental anguish,

               c. Past and future loss of the capacity for the enjoyment of life,

               d. Past and future inconvenience,

               e. Past and future economic damages, including lost wages, lost future

                   wage earning capacity,

               f. Past and future medical expenses and attendant care.

                    VI. NEGLIGENT HIRING AND/OR RETENTION

       60.       Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by

       reference, and adopts paragraphs 1 through 5 and 8 through 59 as though they were

       originally alleged herein.

       61.       That at all times material hereto, RCCL chose to hire medical personnel

       to work on board the RCCL EXPLORER OF THE SEAS and thus owed Plaintiff

       the duty to hire medical personnel that were competent and qualified. See Rinker

       v. Carnival Corp., 753 F. Supp.2d 1237, 1242-43 (S.D.Fla.2010) quoting Barbetta

       v. SIS Bermuda Star, 848 F.2nd at 1371.

       62.       That Defendant was required to make an appropriate investigation of the

       medical personnel that it was hiring.

       63.       That Defendant failed to make an appropriate investigation of the

       medical personnel that is was hiring.


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       64.       That an appropriate investigation would have revealed the unsuitability

       of the physicians aboard the subject vessel for the particular duty to be performed

       and/or for employment in general.

       65.       That it was unreasonable for RCCL to hire the Medical Defendant’s

       aboard the subject vessel in light of the information it knew or should have known

       regarding the subject physicians.

       66.       That Defendant’s negligent hiring and/or retention of the subject

       Medical Defendants is a direct and proximate cause of JEFFERSON L.

       DURHAM’s permanent injuries and scarring.

       67.       That the Medical Defendants did not have the proper licensure and/or

       training to diagnose JEFFERSON L. DURHAM’S condition.

       68.       That JEFFERSON L. DURHAM suffered from excruciating pain for the

       next three (3) days until the subject vessel reached Victoria as the ship’s medical

       staff and crew did little to assist JEFFERSON L. DURHAM or remove

       JEFFERSON L. DURHAM from the ship in order to receive the proper emergency

       medical attention he required.

       69.       That Plaintiff was reliant on RCCL to properly hire medical personnel

       and Plaintiff was reliant on the ship’s medical staff to make the appropriate

       diagnoses and provide the proper and necessary treatment/make the proper

       decision regarding necessary care.

       70.       That as a direct and proximate result of RCCL’S actions and/or

       omissions in this matter, Plaintiff suffered permanent injuries and scarring. The

       Plaintiffs permanent injuries and scarring was directly caused by RCCL active

       and/or passive acts of negligence/negligent hiring/negligent retention of the

       subject physicians as follows;
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             a. The Medical Defendants could not properly operate and/or analyze the

                  results of diagnostic machines on board the RCCL EXPLORER OF

                  THE SEAS; and/or

             b. The Medical Defendants mis-diagnosed and then mis-treated a condition

                  the Plaintiff was not suffering from. The misdiagnosis and mistreatment

                  caused Plaintiff further injury; and/or

             c. The Medical defendants were unable to diagnose the severity of

                  Plaintiff’s condition that even a reasonably prudently person would

                  realize was indicative of a life-threatening condition; and/or

             d. The Medical Defendants that were hired without vetting their

                  qualifications, skills and/or training; and/or

             e. Failing to promulgate and/or enforce policies and procedures aimed at

                  hiring and/or retaining competent medical personnel; and /or

             f. Failing to promulgate and/or enforce policies and procedures aimed at

                  determining the continued competency and/or adequacy of the care

                  being provided by the medical defendants once they were already in the

                  employ of RCCL; and/or

             g. The Medical Defendants’ employment with RCCL continued despite

                  prior incidents demonstrating their incompetence as ship’s medical

                  personnel.

       71.        Plaintiff, JEFFERSON L. DURHAM, seeks to recover all elements of

       his damages as authorized by law for his injuries, including, but not limited to:

             a.   Past and future pain and suffering,

             b.   Past and future mental anguish,

             c.   Past and future loss of the capacity for the enjoyment of life,
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                d.   Past and future inconvenience,

                e.   Past and future economic damages, including lost wages, lost future

                     wage earning capacity,

                f.   Past and future medical expenses and attendant care.

                COUNT VII- CLAIM AGAINST DR. J. ZAMBRANO

              Plaintiffs reaffirm and reallege e a c h and every allegation set forth in Paragraphs

        and 1, 2, 4 and 8 through 36 -and further alleges as follows:

        72.          That JEFFERSON L. DURHAM              saw the ship’s doctor, DR. J.

        ZAMBRANO, who failed to properly treat and/or advise the proper authorities

        to take the necessary action to have JEFFERSON L. DURHAM airlifted from the

        subject vessel.

        73.          That medical precaution rules and RCCL’s own policies and procedures

        were not followed correctly.

        74.          That DR. J. ZAMBRANO had a heightened duty to provide necessary

        and appropriate medical care to RCCL’s passengers and/or make appropriate and

        necessary decisions to ensure that the passengers receive the proper medical

        treatment.

        75.          That DR. J. ZAMBRANO breached his duty as a physician aboard the

        subject vessel to provide adequate medical care and/or make prudent medical

        decisions in the best interest of the Plaintiff, JEFFERSON L. DURHAM.

       76.      At all times material hereto, Defendant, DR. J. ZAMBRANO had a duty to care

       for and treat patient, JEFFERSON L.DURHAM, in accordance with the prevailing standards

       of care for similar health care providers.




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       77.    Notwithstanding said duty, Defendant, DR. J. ZAMBRANO was negligent and

       breached said duties by doing or failing to do one or more of the following acts, any, some

       or all of which were and are departures from the prevailing standards of care for similar

       health care providers:

                a. Negligently and carelessly failed to timely and properly diagnose

                     and treat Plaintiff's underlying condition;

                b. Negligently and carelessly failed to properly monitor a life-

                     threatening underlying condition which the Defendant had knowledge

                     of;

                c. Negligently and carelessly failed to inform the patient and family of

                     said condition in a timely fashion;

                d. Negligently and carelessly failed to properly assess the patient's

                     underlying condition;

                e. Negligently and carelessly failed to perform complete examinations on

                     the patient;

                f. Negligently and carelessly failed to order proper diagnostic

                     studies;

                g. Negligently and carelessly failed to follow up in a timely fashion

                     regarding proper diagnostic studies;

                h. Negligently and carelessly failed to make proper timely intervention

                     for the patient;

                i.   Negligently, carelessly and improperly failed to refer the patient to a

                     duly qualified physician in a timely fashion;

                j.   Negligent and careless acts and/or omissions not yet discovered.


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                 k. Negligently and carelessly failed to timely supervise the condition

                     of the patient so that when the patient exhibited symptoms; the

                     appropriate timely measures to could be undertaken;

       78.      Additionally, Dr. J. ZAMBRANO breached his duty of reasonable care by

       failing to order JEFFERSON L. DURHAM to be evacuated from the subject vessel

       and receive the emergency medical treatment that was required to avoid JEFFERSON

       L. DURHAM from sustaining permanent injuries and scarring.

     79.       That as a result of DR. J. ZAMBRANO’S failure to properly treat JEFFERSON L.

     DURHAM and/or order/arrange for JEFFERSON L. DURHAM to be evacuated from the

     vessel and airlifted to the closest hospital, JEFFERSON L. DURHAM sustained permanent

     injuries and scarring.

     80.     That DR. J. ZAMBRANO (1) had actual notice of JEFFERSON L. DURHAM’s

     condition aboard the vessel and failed and refused to take proper action; and/or DR .J.

     ZAMBRANO should have known about JEFFERSON L. DURHAM’S condition and failed

     and refused to take proper action to avoid JEFFERSON L. DURHAM from sustaining

     permanent injuries and scarring.

     81.         That the failures and/or acts and/or omissions by DR. J. ZAMBRANO in his

      failure to provide JEFFERSON L. DURHAM with reasonable means to seek the proper

      emergency medical care and/or be removed from the subject vessel, proximately and

      directly caused Plaintiff’s injuries and damages.

     82.        Additionally, Dr. J. ZAMBRANO breached his duty of reasonable care by failing

     to order JEFFERSON L. DURHAM to be evacuated from the subject vessel and receive the

     emergency medical treatment that was required to avoid JEFFERSON L.




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     83.     Additionally, Dr. J. ZAMBRANO breached his duty of reasonable care by failing to

     order JEFFERSON L. DURHAM to be evacuated from the subject vessel and receive the

     emergency medical treatment that was required to avoid JEFFERSON L. DURHAM from

     sustaining permanent injuries and scarring.


     84.    That as a result of DR. J. ZAMBRANO’S failure to properly treat JEFFERSON L.

     DURHAM and/or order/arrange for JEFFERSON L. DURHAM to be evacuated from the

     vessel and airlifted to the closest hospital, JEFFERSON L. DURHAM sustained permanent

     injuries and scarring.


     85.     That DR. J. ZAMBRANO (1) had actual notice of JEFFERSON L. DURHAM’s

     condition aboard the vessel and failed and refused to take proper action; and/or DR .J.

     ZAMBRANO should have known about JEFFERSON L. DURHAM’S condition and failed

     and refused to take proper action to avoid JEFFERSON L. DURHAM from sustaining

     permanent injuries and scarring.


      86.    That the failures and/or acts and/or omissions by DR. J. ZAMBRANO in his failure to

      provide JEFFERSON L. DURHAM with reasonable means to seek the proper emergency

      medical care and/or be removed from the subject vessel, proximately and directly caused

      Plaintiff’s injuries and damages.


     87.     That as a direct and proximate cause of Defendant, DR. J. ZAMBRANO’S

     breaches of his duty of care, Plaintiff, JEFFERSON L.DURHAM, has suffered damages.

     88.     That as a direct and proximate result of DR. J. ZAMBRANO’S actions and/or

     omissions in this matter, Plaintiff suffered life threatening and incapacitating injuries. The

     Plaintiffs injuries were directly caused by Defendant, DR. J. ZAMBRANO’S active

     and/or passive acts of negligence as set forth above and as a result, Plaintiff, JEFFERSON

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     L. DURHAM, seeks to recover all elements of his damages as authorized by laws for his

     injuries, included but not limited to:

               a. Past and future pain and suffering,

               b. Past and future mental anguish,

               c. Past and future loss of the capacity for the enjoyment of life,

               d. Past and future inconvenience,

               e. Past and future economic damages, including lost wages, lost future

                   wage earning capacity.

               f. Past and future medical expenses and attendant care.

                   COUNT VIII- CLAIM AGAINST DR. J. WOLFE

            Plaintiffs reaffirm and reallege each and every allegation set forth in

     Paragraphs 1, 2, 5 and 8 through 36 and further alleges as follows:

      89.       That JEFFERSON L. DURHAM saw the ship’s doctor, DR. J. WOLFE, who

     failed to properly treat and/or advise the proper authorities to take the necessary

     action to have JEFFERSON L. DURHAM airlifted from the subject vessel.

      90.      That medical precaution rules and RCCL’s own policies and procedures

        were not followed correctly.

      91.      That DR. J. WOLFE had a heightened duty to provide necessary and

      appropriate medical care to RCCL’s passengers and/or make appropriate and

      necessary decisions to ensure that the passengers receive the proper medical

      treatment.

      92.       That DR. J. WOLFE breached his duty as a physician aboard the subject vessel

        to provide adequate medical care and/or make prudent medical decisions in the best

        interest of the Plaintiff, JEFFERSON L. DURHAM.


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      93.          At all times material hereto, Defendant, DR. J. WOLFE had a duty to care for

       and treat patient, JEFFERSON L.DURHAM, in accordance with the prevailing standards of

       care for similar health care providers.

      94.          Notwithstanding said duty, Defendant, DR. J. WOLFE was negligent and

      breached said duties by doing or failing to do one or more of the following acts, any, some

      or all of which were and are departures from the prevailing standards of care for similar health

      care providers:

            a. Negligently and carelessly failed to timely and properly diagnose and treat

                 Plaintiff's underlying condition;

            b.    Negligently and carelessly failed to properly monitor a life threatening underlying

                 condition which the Defendant had knowledge of;

            c. Negligently and carelessly failed to inform the patient and family of said condition in

                 a timely fashion;

            d. Negligently and carelessly failed to properly assess the patient's underlying condition;

            e. Negligently and carelessly failed to perform complete examinations on the patient;

            f. Negligently and carelessly failed to order proper diagnostic studies;

            g. Negligently and carelessly failed to follow up in a timely fashion regarding proper

                 diagnostic studies;

            h. Negligently and carelessly failed to make proper timely intervention for the patient;

            i.   Negligently, carelessly and improperly failed to refer the patient to a duly qualified

                 physician in a timely fashion;

            j.   Negligently and carelessly failed to timely supervise the condition of the patient

                 so that when the patient exhibited symptoms; the appropriate timely measures

                 to timely correct said symptoms could be undertaken;


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      95.        Additionally, Dr. J. WOLFE breached his duty of reasonable care by failing to order

      JEFFERSON L. DURHAM to be evacuated from the subject vessel and receive the emergency

      medical treatment that was required to avoid JEFFERSON L. DURHAM from sustaining

      permanent injuries and scarring.

     96.     That as a result of DR. J. WOLFE’S failure to properly treat JEFFERSON L. DURHAM

     and/or order/arrange for JEFFERSON L. DURHAM to be evacuated from the vessel and

     airlifted to the closest hospital, JEFFERSON L. DURHAM sustained permanent injuries and

     scarring.

     97.      That DR. J. WOLFE (1) had actual notice of JEFFERSON L. DURHAM’s condition

     aboard the vessel and failed and refused to take proper action; and/or DR .J. WOLFE should

     have known about JEFFERSON L. DURHAM’S condition and failed and refused to take proper

     action to avoid JEFFERSON L. DURHAM from sustaining permanent injuries and scarring.

      98.        That the failures and/or acts and/or omissions by DR. J. WOLFE in his failure to

      provide JEFFERSON L. DURHAM with reasonable means to seek the proper emergency

      medical care and/or be removed from the subject vessel, proximately and directly caused

      Plaintiff’s injuries and damages.

      99.        That as a direct and proximate cause of Defendant, DR. J. WOLFE’S breaches of

       his duty of care, Plaintiff, JEFFERSON L.DURHAM, has suffered damages.

      100.        That as a direct and proximate result of DR. J. WOLFE’S actions and/or omissions

      in this matter, Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs

      injuries were directly caused by Defendant, DR. J. WOLFE’S active and/or passive acts of

      negligence as set forth above and as a result, Plaintiff, JEFFERSON L. DURHAM, seeks to

      recover all elements of his damages as authorized by laws for his injuries, included but not

      limited to:

                     a. Past and future pain and suffering,
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                  b. Past and future mental anguish,

                  c. Past and future loss of the capacity for the enjoyment of life,

                  d. Past and future inconvenience,

                  e. Past and future economic damages, including lost wages, lost future

                      wage earning capacity.

                  f. Past and future medical expenses and attendant care.

              COUNT IX - CLAIM AGAINST DEFENDANT RCCL FOR NEGLIGENT
                              SUPERVISION AND AGENCY

            Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by reference, and adopts

      paragraphs 1, through 5 and 8 through 100 as though they were originally alleged herein.

     101.     At all times material hereto, Defendant, RCCL by and through its agents, apparent

     agents, servants and/or employees were required to render medical care and treatment

     in accordance with the professional standards of care for similar health care providers

     to the patient, JEFFERSON L. DURHAM.

     102.    Notwithstanding the duty undertaken by the Defendant, RCCL said Defendant

      breached the owed to the patient by failing to properly supervise care and treatment provided

      to the patient by its agents, apparent agents, servants and/or employees, including but not

      limited to Defendants, DR. J. ZAMBRANO , DR. J. WOLFE and any and all nurse

      employees, which failure constituted negligence and is further liable for the negligence of its

      apparent agents, agents, servants and/or employees, including but not limited to Defendants,

      DR. J. ZAMBRANO and DR. J. WOLFE while acting within the course and scope of

      employment with Defendant, RCCL.

     103. That as a direct and proximate result of RCCL’S negligent actions and/or omissions in

     this matter, Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs injuries

     were directly caused by Defendant, DR. J. WOLFE’S active and/or passive acts of negligence

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     as set forth above and as a result, Plaintiff, JEFFERSON L. DURHAM, seeks to recover all

     elements of his damages as authorized by laws for his injuries, included but not limited to:

                  g. Past and future pain and suffering,

                  h. Past and future mental anguish,

                  i.   Past and future loss of the capacity for the enjoyment of life,

                  j.   Past and future inconvenience,

                  k. Past and future economic damages, including lost wages, lost future

                       wage earning capacity.

                  l.   Past and future medical expenses and attendant care.

            COUNT X - CLAIM AGAINST DEFENDANT ROYAL JUBILEE HOSPITAL

            Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by reference, and        adopts

     paragraphs 1, 2, and 7 through 36 as though they were originally alleged herein.

     104.     At all times material hereto, Defendant, JUBILEE HOSPITAL by and through its

     agents, servants and/or employees were required to render medical care and treatment

     in accordance with the professional standards of care for similar health care providers

     to the patient, JEFFERSON L. DURHAM.

     105.    That RJH: (1) had actual notice of JEFFERSON L. DURHAM’S Condition and failed

     and refused to take proper action; and/or (2) RCCL should have known about JEFFERSON L.

     DURHAM’S condition and failed and refused to take proper action to avoid JEFFERSON L.

     DURHAM from sustaining more severe and life threatening injuries.

     106.    That RJH hiring and retention of its medical personnel was negligent and was a direct

     and proximate cause of JEFFERSON L. DURHAM’S injuries and damages.

     107. That the failures and/or acts and/or omissions by RJH in its failure to provide

     JEFFERSON L. DURHAM with reasonable means to seek the proper emergency medical care


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     and/or be removed from the subject vessel, proximately and directly caused Plaintiffs injuries

     and damages.

     108. That as a direct and proximate result of RJH’S actions and/or omissions in this matter,

     Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs injuries were

     directly caused by RJH’S active and/or passive acts of negligence as set forth above and as a

     result, Plaintiff, JEFFERSON L. DURHAM, seeks to recover all elements of his damages as

     authorized by laws for his injuries, included but not limited to:

     a.     Past and future pain and suffering,

     b.     Past and future mental anguish,

     c.     Past and future loss of the capacity for the enjoyment of life,

     d.     Past and future inconvenience,

     e.     Past and future economic damages, including lost wages, lost future wage earning

     capacity.

     f.     Past and future medical expenses and attendant care.

          COUNT XI - CLAIM AGAINST DEFENDANT SEACARE FOR NEGLIGENT
                            SUPERVISION AND AGENCY


                     Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by reference, and

     adopts paragraphs 1, 2, 4, 5, 6, 8 and 72 through 100as though they were originally alleged

     herein.

     109.      At all times material hereto, Defendant, SEACARE by and through its agents,

     apparent agents, servants and/or employees, including but not limited to its nursing

     staff, was required to render medical care and treatment in accordance with the professional

     standards of care for similar health care providers to the patient, JEFFERSON L. DURHAM.

     Further, Defendant, SEACARE had a duty to properly supervise it’s agents, apparent agents,

     servants and/or employees including but not limited to its nursing staff, and to monitor said
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     agents, apparent agents, servants and/or employees, to see that they follow Defendant,

     SEACARE’ rules and regulations.

     110.      Notwithstanding the duty undertaken by Defendant, SEACARE, it breached said duty

     owed to the patient by failing to properly supervise care and treatment provided to the patient

     and failing to monitor compliance with Defendant, SEACARE rules and regulations by its

     agents, apparent agents, servants and/or employees, to wit: DR. J. ZAMBRANO and DR. J.

     WOLFE and negligently, carelessly failed to properly supervise DR. J. ZAMBRANO and

     DR. J. WOLFE which failure constituted negligence and is further liable for the negligence of

     its agents, apparent agents, servants and/or employees, to wit: DR. J. ZAMBRANO and DR.

     J. WOLFE while acting within the course and scope of their employment with SEACARE.

     Therefore, Defendant, SEACARE is liable for any negligence of its agents, apparent agents,

     servants and/or employees to wit: DR. J. ZAMBRANO and DR. J. WOLFE relative to the care

     and treatment of Plaintiff, JEFFERSON L. DURHAM and further, for the failure DR. J.

     ZAMBRANO and DR. J. WOLFE to comply with Defendant, SEACARE                                rules and

     regulations.

            111. That as a direct and proximate result of DR. J. WOLFE’S actions and/or omissions

            in this matter, Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs

            injuries were directly caused by Defendant, DR. J. WOLFE’S active and/or passive acts

            of negligence as set forth above and as a result, Plaintiff, JEFFERSON L. DURHAM,

            seeks to recover all elements of his damages as authorized by laws for his injuries,

            included but not limited to:

                    m. Past and future pain and suffering,

                    n. Past and future mental anguish,

                    o. Past and future loss of the capacity for the enjoyment of life,


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                  p. Past and future inconvenience,

                  q. Past and future economic damages, including lost wages, lost future

                      wage earning capacity.

                  r. Past and future medical expenses and attendant care.



                      XII. JOINT VENTURE BETWEEN ALL PARTIES

            Plaintiff, JEFFERSON L. DURHAM, realleges, incorporates by reference, and adopts

     paragraphs 1 through 111 as though they were originally alleged herein:

     112.     A joint venture is an association of persons or legal entities to carry out a single

     business enterprise for profit.

     113.     At all times material hereto, RCCL and the Medical Defendants engaged in a

     Joint Venture to operate the ship's medical facility for passengers onboard the RCCL

     Explorer of the Seas, for profit.

                  114. As part of its Joint Venture, RCCL financed and equipped the ship's medical

                  facility and assisted in running same. As part of the Joint Venture, the Medical

                  Defendants provided labor and/or assisted in running the ship's medical facility so

                  as to generate charges to passengers which were thereby collected by RCCL and

                  the money was then shared by RCCL and the Medical Defendants.

     115.    Both RCCL and the Medical Defendants had joint or shared control over aspects of the

     Joint Venture. The Medical Defendants had control over the day to day workings of the ship's

     medical facility, including the treatment of patients. RCCL also had control over the ship's

     medical facility including setting the hours of operation and had control over the billing and

     collections for the ship's medical facility.116. RCCL also issued policies and procedures that

     were to be followed by the Medical Defendant. Thus, RCCL and the Medical Defendants had

     joint control over the day to day operations of the medical facility in that the Medical
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     Defendants performed the medical aspects of the Joint Venture and RCCL performed

     the operational and procedural aspects of the Joint Venture.

     117. That RCCL and the Medical Defendants shared a common purpose: to operate the ship's

     medical facility for profit.

      118.    RCCL and Medical Defendants had a joint proprietary or ownership interest in the

      ship's medical facility. RCCL had an interest in the money it devoted to setting up the medical

      facility and the Medical Defendants had a proprietary interest in the time and labor expended

      in operating the ship's medical facility.

     119.     RCCL and the Medical Defendant shared profit of the Joint Venture. Upon information

     and belief, there exists a contractual arrangement with the Medical Defendants which

     expressly outlines such profit sharing relationship.

     120.     In Florida, a duty to share losses actually and impliedly exists as a matter of law in a

     situation where one party supplies the labor, experience and skill and the other party supplies

     the necessary capital. See Florida Tomate Packers, Inc. V. Wilson, 296 So.. 2d 536, 539(Fla.

     3d DCA 1974) citing Russellv. Thielen, 82 So. 2d 143 (Fla. 1955).

     121.       RCCL thus had a symbiotic relationship with Medical Defendants. RCCL and the

     Medical Defendants therefore:

                 a.   Intended to enter into the above enunciated agreements; and/or

                 b.   Had a community of interest in the perfmmance of the common purpose, eg.,

                      the operation of the ship's medical facility for passengers, for profit; and/or

                 c.   Had a community of interest in the perfmmance of the common purpose, eg.,

                      the operation of the ship's medical facility for passengers, for profit; and/or

                 d.   Had a community of interest in the performance of the common purpose, eg.,

                      the operation of the ship's medical facility for passengers, for profit; and/or

                 e.   Had a right to share in the profits of the Joint Venture; and/or
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                 f.      Would share losses which may have been sustained.

      122.            As joint venturers, RCCL and the Medical Defendants are liable for each

      other's·negligence. As a result, RCCL is liable for the negligent conduct of the Medical

      Defendants, and damages previously described herein. Participants in a joint venture are

      each liable for the torts of the other or of the servants of the joint undetiaking committed

      within the course and scope of the undertaking, without regard to which of the joint

      venturers actually employed the servant.

      123.   Plaintiff was injured as a direct and proximate result of the fault/negligence of RCCL

      through the acts of its joint venturers, the Medical Defendants, as follows:

               a. Failure to properly operate the medical diagnostic machines onboard the RCCL

                      EXPLORER OF THE SEAS and/or analyse the results thereof; and/or

               b. Mis-diagnosing and mis-treating Plaintiffs condition; and/or

               c. Failure to diagnose the severity of Plaintiff’s condiiton; and/or

               d. Delaying         Plaintiff from receiving       necessary   medical surgery     by

                      administering incorrect medical treatments; and/or

               e. Causing permanent injuries and scarring to Plaintiff by failing to properly

                      diagnose and/or treat Plaintiffs condition; and/or

               f. Failure to order the timely medical evacuation of Plaintiff.

      124.      That as a direct and proximate result of RCCL'S actions and/or omissions in this

      matter) Plaintiff suffered full paralysis of his lower extremities. The Plaintiffs permanent

      injuries and scarring were directly caused by RCCL'S active and/or passive acts of negligence

      as set forth above and as a result Plaintiff, JEFFERSON L.DURHAM, seeks to recover all

      elements of his damages as authorized by law for his injuries, including, but not limited to:

               a. Past and future pain and suffering,

               b. Past and future mental anguish,
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                c. Past and future loss of the capacity for the enjoyment of life,

                d. Past and future inconvenience,

                e. Past and future economic damages, including lost wages, lost future

                    wage earning capacity,

                f. Past and future medical expenses and attendant care.



             XIII. THIRD PARTY BENEFICIARY CLAIM AGAINST RCCL AND THE
                                MEDICAL DEFENDANTS


            Plaintiff, JEFFERSON L.DURHAM, realleges, incorporates by reference, and adopts

    all paragraphs as though they were originally alleged herein:

     125. Upon information and belief, at all times material hereto, Medical Defendants had an

     agreement in effect with RCCL in which RCCL agreed to provide indemnity insurance coverage

     for the claims made in this action.

    126. Upon information and belief, RCCL, had a separate agreement with the Medical Defendants.

    The agreement provided for RCCL financing and equipping the ship's medical facility, and

    the Medical Defendants naming the facility, for the primary and direct purpose of providing

    medical services to passengers.

     127.At all times material hereto, RCCL represented to passengers that the intent of the agreement

     was to 1) provide emergency medical care to guests and 2) to maintain a safe and confortable

     environment for guests.

     128. At all times material hereto, the agreements were entered into to primarily and directly

     benefit passengers such as Plaintiff and as a result of those agreements:

                a. At all times material hereto RCCL made representations to passengers that

                    should a guest require medical attention while onboard the subject vessel, the

                    Medical Defendants would be available 24 hours a day for emergencies.
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               b. RCCL represented to passengers that physicians would be available for a

                   customary fee.

               c. RCCL represented to passengers that its medical facility met or exceeded the

                   standard established by the International Council of Cruise Lines.

               d. At all times material hereto RCCL made representations to passengers that its

                   medical facility was staffed by qualified physicians and nurses who are

                   committed to providing the highest quality of shipboard medical care.

               e. Plaintiff, while under the care and treatment of the Medical Defendants,

                   was treated inappropriately, improperly and negligently. Therefore, because

                   1) the – Medical Defendants were not qualified to treat Plaintiff and therefore

                   could not provide the highest quality shipboard care to Plaintiff, the Medical

                   Defendants breached their contract with RCCL.

               f. That since the medical facility was inappropriately staffed; en whole,

                   RCCL breached its agreement with the individual Medical Defendants.

      129.     The foregoing breach and/or breaches of contract to which Plaintiff was a third party

      beneficiary were a direct an proximate cause of Plaintiffs injury and/or condition being

      aggravated and made worse, As a result of the breach and/or breaches of contract between

      RCCL and the Medical Defendants, Plaintiff was injured and suffered damages.

         130. That as a direct and proximate result of these actions and/or omissions in this matter,

         Plaintiff suffered life threatening and incapacitating injuries. The Plaintiffs injuries were

         directly caused by Defendant, DR. J. WOLFE’S active and/or passive acts of negligence

         as set forth above and as a result, Plaintiff, JEFFERSON L. DURHAM, seeks to recover

         all elements of his damages as authorized by laws for his injuries, included but not limited

         to:

                  s. Past and future pain and suffering,
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                   t.   Past and future mental anguish,

                   u. Past and future loss of the capacity for the enjoyment of life,

                   v. Past and future inconvenience,

                   w. Past and future economic damages, including lost wages, lost future

                        wage earning capacity.

                   x. Past and future medical expenses and attendant care.



           WHEREFORE, Plaintiff, JEFFERSON L. DURHAM, respectfully requests that this Court

     enter a Judgment in favor of Plaintiff, JEFFERSON L.DURHAM, and against Defendants,

     ROYAL CARIBBEAN CRUISES, LTD., DR. J. ZAMBRANO, DR. J. WOLFE,

     SEACARE CO-OPERATIVE, LTD, and ROYAL JUBILEE HOSPITAL and for any

     further relief that this Court deems just and proper.

                                        COUNT XIV
                         DERIVATIVE CLAIM OF DANNIELLE R. DURHAM

     131.      Plaintiff, DANIELLE R. DURHAM , realleges, incorporates by reference, and adopts

     paragraphs 1 through 130as though they were originally alleged herein:

    132.     That at all times material hereto, DANIELLE R. DURHAM, was the spouse of the

    Plaintiff, JEFFERSON L. DURHAM , and they resided together as husband and wife in Broward

    County, Florida.

    133.     That at all times material hereto, Plaintiff, DANIELLE R. DURHAM, was entitled to the

    services, care, companionship and consortium of said spouse and, as a direct and proximate result

    of the injuries sustained by said spouse, due to the negligence and carelessness of the Defendant

    herein, Plaintiff, has been deprived of the services, care, companionship and consortium of said

    spouse and his ability to render services and assistance to him has been impaired, and by reason

    thereof, the Plaintiff has sustained damages.

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            WHEREFORE, Plaintiff, JEFFERSON L.DURHAM, respectfully requests that this

    Court enter a Judgment in favor of Plaintiff, JEFFERSON L.DURHAM, and against Defendants,

    ROYAL CARIBBEAN CRUISES, LTD., DR. J. ZAMBRANO, DR. J. WOLFE, SEACARE

    CO-OPERATIVE LTD, and ROYAL JUBILEE HOSPITAL and for any further relief that this

    Court deems just and proper.

                         DEMAND FOR JURY TRIAL AND JUDGMENT

            Plaintiffs, JEFFERSON L.DURHAM and DANIELLE R. DURHAM request a trial by

    jury on all counts alleged herein, after which, they request that the Court enter judgment in their

    favor and against the Defendants, for all damages and costs authorized by law, and any




    other such further relief that this Honorable Court finds just under the circumstances.

    Dated this 2nd day of August, 2019.
                                                            Law Offices of
                                                            JAMIE FINIZIO BASCOMBE, P.A.

                                                            /s/ Jamie J. Finizio Bascombe, Esq.
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